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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                      *     CRIMINAL NO. 24-165

        v.                                     *     SECTION: “D” (5)

 JEFFREY PAUL VAPPIE, II                       *     HON. WENDY B. VITTER
                                                     HON. MICHAEL B. NORTH
                                          ORDER

       Defendant’s unopposed motion to continue his arraignment is GRANTED. The

initial appearance and arraignment will be held on August 7, 2024 at 2:00 p.m. before the Duty

Magistrate.

       New Orleans, LA this 23rd day of July 2024.



                                                     U.S. MAGISTRATE JUDGE
